                          UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                RICHMOND DIVISION


TREVOR FITZGIBBON,                              )
                                                )
              PLAINTIFF                         )
       vs.                                      ) Civil Action No. 3:18-cv-247-REP
                                                )
                                                )
JESSELYN A. RADACK,
                                                )
                                                )
              DEFENDANT                         )
                                                )
                                                )
                                                )


  DEFENDANT’S OBJECTIONS TO PLAINTIFF’S JURISDICTIONAL DISCOVERY
                            REQUESTS


                                         Interrogatories

   1. Identify the computer(s) or device(s) used by Radack and Radack’s physical location(s)
      at the time she published the tweets, retweets and likes referred to in Counts II and III of
      Plaintiff’s Amended Complaint.

Objections:

      The interrogatory is vague and unclear as to how computers or devices should be
       “identif[ied].”


   2. For Twitter account @JesselynRadack, identify every person followed by
      @JesselynRadack and every person who is a follower of @JesselynRadack who is
      known and/or believed to reside or work in Virginia.

Objections:

      The interrogatory is overbroad to the extent it relates to the period of time subsequent to
       the commencement of this action. See Proprietors of Strata Plan No. 36 v. Coral
       Gardens Resort Mgmt., Ltd., No. 1:09-cv-550(AJT-TRJ), 2009 U.S. Dist. LEXIS 97704
       at *17 (E.D. Va. Oct. 16, 2009) (“Contact with a forum that occurs after the filing of a
       complaint cannot establish personal jurisdiction.”)
      The interrogatory is unduly burdensome in that it requests that Defendant review over
       35,000 Twitter handles and determine, for each, if the person resides or works in
       Virginia.
      The interrogatory is overly broad and seeks information that is not relevant. To the extent
       that any Twitter followers are located in Virginia, this is a completely random or
       fortuitous occurrence which cannot establish jurisdiction in Virginia. FireClean, LLC v.
       Tuohy, No. 1:16-cv-0294, 2016 U.S. Dist. LEXIS 96294 (E.D. Va. July 21, 2016).
      The information requested is already publicly available on Defendant’s Twitter page.


   3. Identify all persons (including individuals, sole proprietorships, associations, trusts,
      partnerships, limited liability companies, and corporations) whose homes or offices are
      known or believed to be in Virginia, and with whom Radack transacted any business
      between April 13, 2015 and the present, and PRODUCE a copy of all contracts,
      agreements, invoices and billing records relating to such business.

Objections:

      The interrogatory exceeds the scope of the limited jurisdictional discovery permitted by
       the Court in this case. The interrogatory is not relevant to establishing specific personal
       jurisdiction because it is not limited to the issue of whether the defendant’s acts which
       give rise to the claims in this case occurred in Virginia.
      In addition to not being relevant to the issue of specific jurisdiction, the interrogatory is
       not relevant to the issue of general jurisdiction. Defendant is an individual, not a
       corporation, and therefore the dispositive issue is her domicile. Goodyear Dunlop Tires
       Operations, S.A. v. Brown, 564 U.S. 915, 924 (2011) (“For an individual, the paradigm
       forum for the exercise of general jurisdiction is the individual’s domicile”); Kuhnen v.
       Remington, No. 1:15cv766, 2016 U.S. Dist. LEXIS 84282 at *8 (M.D.N.C. June 29,
       2016) (“Here, there is no suggestion that any defendant is domiciled in North Carolina.
       To the contrary, the complaint alleges that they are ‘citizen[s] and resident[s]’ of
       Tennessee, Indiana, and Massachusetts. As a result, the court lacks general personal
       jurisdiction over the defendants in this case.”) Because the interrogatory is not designed
       to obtain information about Defendant’s domicile, the request is not relevant to the issue
       of general jurisdiction.
      Defendant further objects that discovery as to whether Defendant should be subject to
       general personal jurisdiction in Virginia would amount to a mere fishing expedition. See
       FireClean LLC v. Tuohy, No. 1:16-cv-294-JCC-MSN, 2016 U.S. Dist. LEXIS 109620
       (E.D. Va. June 14, 2016).
      The interrogatory is overbroad to the extent it relates to the period of time subsequent to
       the commencement of this action. See Proprietors of Strata Plan No. 36 v. Coral
       Gardens Resort Mgmt., Ltd., No. 1:09-cv-550(AJT-TRJ), 2009 U.S. Dist. LEXIS 97704
       at *17 (E.D. Va. Oct. 16, 2009) (“Contact with a forum that occurs after the filing of a
       complaint cannot establish personal jurisdiction.”)
      The interrogatory seeks information which is not relevant because the mere purchase of
       goods or services, even if occurring at regular intervals, is not enough to warrant personal
       jurisdiction over an out-of-state defendant in a cause of action not related to those
       purchases. Helicopteros Nacionales De Colombia v. Hall, 466 U.S. 408, 418 (1984).
      The interrogatory is improper to the extent that it requests the production of documents.
      The interrogatory is unduly burdensome in that it requests that Defendant review any
       business transactions, no matter how insignificant, and to determine where the other party
       to the transaction has a home or office in Virginia.


   4. Identify and PRODUCE copies of records of all telephone calls made by Radack (from
      any land line, cell phone or computer) and all text messages sent by Radack (from any
      telephone, computer, iPad, Blackberry or other electronic device) to any person known or
      believed to be in Virginia or to area codes 276, 434, 540, 571, 703, 757 and/or 804
      between April 13, 2015 and the present relating to any business, either actual (ongoing or
      completed) or prospective.

Objections:

      The interrogatory exceeds the scope of the limited jurisdictional discovery permitted by
       the Court in this case. The interrogatory is not relevant to establishing specific personal
       jurisdiction because it is not limited to the issue of whether the defendant’s acts which
       give rise to the claims in this case occurred in Virginia.
      In addition to not being relevant to the issue of specific jurisdiction, the interrogatory is
       not relevant to the issue of general jurisdiction. Defendant is an individual, not a
       corporation, and therefore the dispositive issue is her domicile. Goodyear Dunlop Tires
       Operations, S.A. v. Brown, 564 U.S. 915, 924 (2011) (“For an individual, the paradigm
       forum for the exercise of general jurisdiction is the individual’s domicile”); Kuhnen v.
       Remington, No. 1:15cv766, 2016 U.S. Dist. LEXIS 84282 at *8 (M.D.N.C. June 29,
       2016) (“Here, there is no suggestion that any defendant is domiciled in North Carolina.
       To the contrary, the complaint alleges that they are ‘citizen[s] and resident[s]’ of
       Tennessee, Indiana, and Massachusetts. As a result, the court lacks general personal
       jurisdiction over the defendants in this case.”) Because the interrogatory is not designed
       to obtain information about Defendant’s domicile, the request is not relevant to the issue
       of general jurisdiction.
      Defendant further objects that discovery as to whether Defendant should be subject to
       general personal jurisdiction in Virginia would amount to a mere fishing expedition. See
       FireClean LLC v. Tuohy, No. 1:16-cv-294-JCC-MSN, 2016 U.S. Dist. LEXIS 109620
       (E.D. Va. June 14, 2016).
      The interrogatory is overbroad to the extent it relates to the period of time subsequent to
       the commencement of this action. See Proprietors of Strata Plan No. 36 v. Coral
       Gardens Resort Mgmt., Ltd., No. 1:09-cv-550(AJT-TRJ), 2009 U.S. Dist. LEXIS 97704
       at *17 (E.D. Va. Oct. 16, 2009) (“Contact with a forum that occurs after the filing of a
       complaint cannot establish personal jurisdiction.”)
      The interrogatory is improper to the extent that it requests the production of documents.
      The interrogatory is unduly burdensome in that it requests that Defendant review records
       of every phone call made or text message sent for a period of over three years, determine
       which calls or text messages relate to actual or prospective business, and then determine
       whether the person was in Virginia.
      The interrogatory is vague in that it is unclear whether “in Virginia” means that the
       person is domiciled in Virginia or was physically located in Virginia at the time the
       phone call or text message was received.
      The interrogatory is vague in that it is unclear what constitutes a phone call or text
       message “relating to” any business. See Belk, Inc. v. Meyer Corp., No. 3:07-CV-168-
       DCK, 2009 U.S. Dist. LEXIS 26734 at *11 (W.D.N.C. Mar. 13, 2009).
      The interrogatory is overbroad in that it requests that Defendant identify phone calls or
       text “relating to” any business, not just phone calls or messages in which business was
       transacted.


   5. Identify and PRODUCE copies of all email communications between Radack and any
      person known or believed to be in Virginia between April 13, 2015 and the present
      relating to any business, either actual (ongoing or completed) or prospective.

Objections:


      The interrogatory exceeds the scope of the limited jurisdictional discovery permitted by
       the Court in this case. The interrogatory is not relevant to establishing specific personal
       jurisdiction because it is not limited to the issue of whether the defendant’s acts which
       give rise to the claims in this case occurred in Virginia.
      In addition to not being relevant to the issue of specific jurisdiction, the interrogatory is
       not relevant to the issue of general jurisdiction. Defendant is an individual, not a
       corporation, and therefore the dispositive issue is her domicile. Goodyear Dunlop Tires
       Operations, S.A. v. Brown, 564 U.S. 915, 924 (2011) (“For an individual, the paradigm
       forum for the exercise of general jurisdiction is the individual’s domicile”); Kuhnen v.
       Remington, No. 1:15cv766, 2016 U.S. Dist. LEXIS 84282 at *8 (M.D.N.C. June 29,
       2016) (“Here, there is no suggestion that any defendant is domiciled in North Carolina.
       To the contrary, the complaint alleges that they are ‘citizen[s] and resident[s]’ of
       Tennessee, Indiana, and Massachusetts. As a result, the court lacks general personal
       jurisdiction over the defendants in this case.”) Because the interrogatory is not designed
       to obtain information about Defendant’s domicile, the request is not relevant to the issue
       of general jurisdiction.
      Defendant further objects that discovery as to whether Defendant should be subject to
       general personal jurisdiction in Virginia would amount to a mere fishing expedition. See
       FireClean LLC v. Tuohy, No. 1:16-cv-294-JCC-MSN, 2016 U.S. Dist. LEXIS 109620
       (E.D. Va. June 14, 2016).
      The interrogatory is overbroad to the extent it relates to the period of time subsequent to
       the commencement of this action. See Proprietors of Strata Plan No. 36 v. Coral
       Gardens Resort Mgmt., Ltd., No. 1:09-cv-550(AJT-TRJ), 2009 U.S. Dist. LEXIS 97704
       at *17 (E.D. Va. Oct. 16, 2009) (“Contact with a forum that occurs after the filing of a
       complaint cannot establish personal jurisdiction.”)
      The request seeks information which is not relevant because the mere purchase of goods
       or services, even if occurring at regular intervals, is not enough to warrant personal
       jurisdiction over an out-of-state defendant in a cause of action not related to those
       purchases. Helicopteros Nacionales De Colombia v. Hall, 466 U.S. 408, 418 (1984).
      The interrogatory is improper to the extent that it requests the production of documents.
      The interrogatory is unduly burdensome in that it requests that Defendant locate every
       email sent or received by Defendant for a period of over three years, read each email to
       determine whether it relates to actual or prospective business, and then determine
       whether the person was in Virginia.
      The interrogatory is vague in that it is unclear whether “in Virginia” means that the
       person is domiciled in Virginia or was physically located in Virginia at the time the email
       was sent or received.
      The interrogatory is vague in that it is unclear what constitutes an email “relating to” any
       business. See Belk, Inc. v. Meyer Corp., No. 3:07-CV-168-DCK, 2009 U.S. Dist. LEXIS
       26734 at *11 (W.D.N.C. Mar. 13, 2009).
      The interrogatory is overbroad in that it requests that Defendant identify emails “relating
       to” any business, not just emails in which business was transacted.


   6. Identify the number of times Radack and/or her agents, representatives and/or employees
      have been physically present in Virginia between April 13, 2015 and the present, and, for
      each occasion, describe in detail (a) the reason for being in Virginia, (b) the nature of any
      business activity conducted in Virginia, and (c) the location and duration of each visit.

Objections:


      The interrogatory is overbroad to the extent it requests information about times other than
       those identified in the Complaint when Defendant is alleged to have tweeted, retweeted,
       and “liked” certain tweets.
      The interrogatory exceeds the scope of the limited jurisdictional discovery permitted by
       the Court in this case. The interrogatory is not relevant to establishing specific personal
       jurisdiction to the extent that it is not limited to the issue of whether the defendant’s acts
       which give rise to the claims in this case occurred in Virginia.
      In addition to not being relevant to the issue of specific jurisdiction, the interrogatory is
       not relevant to the issue of general jurisdiction. Defendant is an individual, not a
       corporation, and therefore the dispositive issue is her domicile. Goodyear Dunlop Tires
       Operations, S.A. v. Brown, 564 U.S. 915, 924 (2011) (“For an individual, the paradigm
       forum for the exercise of general jurisdiction is the individual’s domicile”); Kuhnen v.
       Remington, No. 1:15cv766, 2016 U.S. Dist. LEXIS 84282 at *8 (M.D.N.C. June 29,
       2016) (“Here, there is no suggestion that any defendant is domiciled in North Carolina.
       To the contrary, the complaint alleges that they are ‘citizen[s] and resident[s]’ of
       Tennessee, Indiana, and Massachusetts. As a result, the court lacks general personal
       jurisdiction over the defendants in this case.”) Because the interrogatory is not designed
       to obtain information about Defendant’s domicile, the request is not relevant to the issue
       of general jurisdiction.
      Defendant further objects that discovery as to whether Defendant should be subject to
       general personal jurisdiction in Virginia would amount to a mere fishing expedition. See
       FireClean LLC v. Tuohy, No. 1:16-cv-294-JCC-MSN, 2016 U.S. Dist. LEXIS 109620
       (E.D. Va. June 14, 2016).
      The interrogatory is overbroad to the extent it relates to the period of time subsequent to
       the commencement of this action. See Proprietors of Strata Plan No. 36 v. Coral
       Gardens Resort Mgmt., Ltd., No. 1:09-cv-550(AJT-TRJ), 2009 U.S. Dist. LEXIS 97704
       at *17 (E.D. Va. Oct. 16, 2009) (“Contact with a forum that occurs after the filing of a
       complaint cannot establish personal jurisdiction.”)

   7. Describe in detail and identify all property, real and/or personal, owned by Radack or in
      which Radack has any legal or beneficial interest that is located in Virginia.

Objections:

      The interrogatory exceeds the scope of the limited jurisdictional discovery permitted by
       the Court in this case. The interrogatory is not relevant to establishing specific personal
       jurisdiction because it is not limited to the issue of whether the defendant’s acts which
       give rise to the claims in this case occurred in Virginia.
      In addition to not being relevant to the issue of specific jurisdiction, the interrogatory is
       not relevant to the issue of general jurisdiction to the extent that it seeks information
       pertaining to property other than Defendant’s domicile. Defendant is an individual, not a
       corporation, and therefore the dispositive issue is her domicile. Goodyear Dunlop Tires
       Operations, S.A. v. Brown, 564 U.S. 915, 924 (2011) (“For an individual, the paradigm
       forum for the exercise of general jurisdiction is the individual’s domicile”); Kuhnen v.
       Remington, No. 1:15cv766, 2016 U.S. Dist. LEXIS 84282 at *8 (M.D.N.C. June 29,
       2016) (“Here, there is no suggestion that any defendant is domiciled in North Carolina.
       To the contrary, the complaint alleges that they are ‘citizen[s] and resident[s]’ of
       Tennessee, Indiana, and Massachusetts. As a result, the court lacks general personal
       jurisdiction over the defendants in this case.”) Because the interrogatory is not designed
       to obtain information about Defendant’s domicile, the request is not relevant to the issue
       of general jurisdiction.
      Defendant further objects that discovery as to whether Defendant should be subject to
       general personal jurisdiction in Virginia would amount to a mere fishing expedition. See
       FireClean LLC v. Tuohy, No. 1:16-cv-294-JCC-MSN, 2016 U.S. Dist. LEXIS 109620
       (E.D. Va. June 14, 2016).
      The interrogatory is overbroad to the extent it relates to the period of time subsequent to
       the commencement of this action. See Proprietors of Strata Plan No. 36 v. Coral
       Gardens Resort Mgmt., Ltd., No. 1:09-cv-550(AJT-TRJ), 2009 U.S. Dist. LEXIS 97704
       at *17 (E.D. Va. Oct. 16, 2009) (“Contact with a forum that occurs after the filing of a
       complaint cannot establish personal jurisdiction.”)
      The interrogatory is overbroad in that it is not limited to a specific time period.


   8. Describe in detail and identify all revenue, royalties, fees, commissions and other income
      derived, in whole or any part, from any sales of books, memoirs, dvds, CDs, audio or
       video recordings, movies, documentaries, speaking engagements, and/or appearances by
       Radack in Virginia between April 13, 2015 and the present.

Objections:

      The interrogatory exceeds the scope of the limited jurisdictional discovery permitted by
       the Court in this case. The interrogatory is not relevant to establishing specific personal
       jurisdiction because it is not limited to the issue of whether the defendant’s acts which
       give rise to the claims in this case occurred in Virginia.
      In addition to not being relevant to the issue of specific jurisdiction, the interrogatory is
       not relevant to the issue of general jurisdiction. Defendant is an individual, not a
       corporation, and therefore the dispositive issue is her domicile. Goodyear Dunlop Tires
       Operations, S.A. v. Brown, 564 U.S. 915, 924 (2011) (“For an individual, the paradigm
       forum for the exercise of general jurisdiction is the individual’s domicile”); Kuhnen v.
       Remington, No. 1:15cv766, 2016 U.S. Dist. LEXIS 84282 at *8 (M.D.N.C. June 29,
       2016) (“Here, there is no suggestion that any defendant is domiciled in North Carolina.
       To the contrary, the complaint alleges that they are ‘citizen[s] and resident[s]’ of
       Tennessee, Indiana, and Massachusetts. As a result, the court lacks general personal
       jurisdiction over the defendants in this case.”) Because the interrogatory is not designed
       to obtain information about Defendant’s domicile, the request is not relevant to the issue
       of general jurisdiction.
      Defendant further objects that discovery as to whether Defendant should be subject to
       general personal jurisdiction in Virginia would amount to a mere fishing expedition. See
       FireClean LLC v. Tuohy, No. 1:16-cv-294-JCC-MSN, 2016 U.S. Dist. LEXIS 109620
       (E.D. Va. June 14, 2016).
      The interrogatory is overbroad to the extent it relates to the period of time subsequent to
       the commencement of this action. See Proprietors of Strata Plan No. 36 v. Coral
       Gardens Resort Mgmt., Ltd., No. 1:09-cv-550(AJT-TRJ), 2009 U.S. Dist. LEXIS 97704
       at *17 (E.D. Va. Oct. 16, 2009) (“Contact with a forum that occurs after the filing of a
       complaint cannot establish personal jurisdiction.”)


   9. Describe in detail and identify all debts owed by Radack to any person known or believed
      to be in Virginia.

Objections:

      The interrogatory exceeds the scope of the limited jurisdictional discovery permitted by
       the Court in this case. The interrogatory is not relevant to establishing specific personal
       jurisdiction because it is not limited to the issue of whether the defendant’s acts which
       give rise to the claims in this case occurred in Virginia.
      In addition to not being relevant to the issue of specific jurisdiction, the interrogatory is
       not relevant to the issue of general jurisdiction. Defendant is an individual, not a
       corporation, and therefore the dispositive issue is her domicile. Goodyear Dunlop Tires
       Operations, S.A. v. Brown, 564 U.S. 915, 924 (2011) (“For an individual, the paradigm
       forum for the exercise of general jurisdiction is the individual’s domicile”); Kuhnen v.
       Remington, No. 1:15cv766, 2016 U.S. Dist. LEXIS 84282 at *8 (M.D.N.C. June 29,
       2016) (“Here, there is no suggestion that any defendant is domiciled in North Carolina.
       To the contrary, the complaint alleges that they are ‘citizen[s] and resident[s]’ of
       Tennessee, Indiana, and Massachusetts. As a result, the court lacks general personal
       jurisdiction over the defendants in this case.”) Because the interrogatory is not designed
       to obtain information about Defendant’s domicile, the request is not relevant to the issue
       of general jurisdiction.
      Defendant further objects that discovery as to whether Defendant should be subject to
       general personal jurisdiction in Virginia would amount to a mere fishing expedition. See
       FireClean LLC v. Tuohy, No. 1:16-cv-294-JCC-MSN, 2016 U.S. Dist. LEXIS 109620
       (E.D. Va. June 14, 2016).
      The interrogatory is overbroad to the extent it relates to the period of time subsequent to
       the commencement of this action. See Proprietors of Strata Plan No. 36 v. Coral
       Gardens Resort Mgmt., Ltd., No. 1:09-cv-550(AJT-TRJ), 2009 U.S. Dist. LEXIS 97704
       at *17 (E.D. Va. Oct. 16, 2009) (“Contact with a forum that occurs after the filing of a
       complaint cannot establish personal jurisdiction.”)
      The interrogatory is overbroad in that it is not limited to any specific time period


   10. Identify all attorneys, agents, representatives, employees, contractors, vendors, and other
       persons whose homes or businesses are located in Virginia, and who performed labor or
       services or who furnished goods and materials to Radack or for her benefit between April
       13, 2015 and the present, and, for each such person, describe in detail the labor, services,
       good and/or materials supplied or furnished by such person.

Objections:

      The interrogatory exceeds the scope of the limited jurisdictional discovery permitted by
       the Court in this case. The interrogatory is not relevant to establishing specific personal
       jurisdiction because it is not limited to the issue of whether the defendant’s acts which
       give rise to the claims in this case occurred in Virginia.
      In addition to not being relevant to the issue of specific jurisdiction, the interrogatory is
       not relevant to the issue of general jurisdiction. Defendant is an individual, not a
       corporation, and therefore the dispositive issue is her domicile. Goodyear Dunlop Tires
       Operations, S.A. v. Brown, 564 U.S. 915, 924 (2011) (“For an individual, the paradigm
       forum for the exercise of general jurisdiction is the individual’s domicile”); Kuhnen v.
       Remington, No. 1:15cv766, 2016 U.S. Dist. LEXIS 84282 at *8 (M.D.N.C. June 29,
       2016) (“Here, there is no suggestion that any defendant is domiciled in North Carolina.
       To the contrary, the complaint alleges that they are ‘citizen[s] and resident[s]’ of
       Tennessee, Indiana, and Massachusetts. As a result, the court lacks general personal
       jurisdiction over the defendants in this case.”) Because the interrogatory is not designed
       to obtain information about Defendant’s domicile, the request is not relevant to the issue
       of general jurisdiction.
      Defendant further objects that discovery as to whether Defendant should be subject to
       general personal jurisdiction in Virginia would amount to a mere fishing expedition. See
       FireClean LLC v. Tuohy, No. 1:16-cv-294-JCC-MSN, 2016 U.S. Dist. LEXIS 109620
       (E.D. Va. June 14, 2016).
      The interrogatory is overbroad to the extent it relates to the period of time subsequent to
       the commencement of this action. See Proprietors of Strata Plan No. 36 v. Coral
       Gardens Resort Mgmt., Ltd., No. 1:09-cv-550(AJT-TRJ), 2009 U.S. Dist. LEXIS 97704
       at *17 (E.D. Va. Oct. 16, 2009) (“Contact with a forum that occurs after the filing of a
       complaint cannot establish personal jurisdiction.”)
      The request seeks information which is not relevant because the mere purchase of goods
       or services, even if occurring at regular intervals, is not enough to warrant personal
       jurisdiction over an out-of-state defendant in a cause of action not related to those
       purchases. Helicopteros Nacionales De Colombia v. Hall, 466 U.S. 408, 418 (1984).
      The location of Defendant’s attorneys’ homes is completely irrelevant to the limited
       jurisdictional discovery permitted by the Court.


                            Requests for Production of Documents


   1. All documents requested to be produced in and by the above Interrogatories.

Objections:

      The request is an improper multi-part request.
      The request is improper for the same reasons that the corresponding interrogatories are
       improper. Defendant incorporates by reference her objections to each of the
       interrogatories as to which Plaintiff requests the production of documents.

Documents are being withheld pursuant to the foregoing objections.

   2. Financial statements, balance sheets, and income and expense statements for Radack for
      the years 2015, 2016, 2017 and 2018 (year-to-date).

Objections:

      The request exceeds the scope of the limited jurisdictional discovery permitted by the
       Court in this case. The request is not relevant to establishing specific personal jurisdiction
       because it is not limited to the issue of whether the defendant’s acts which give rise to the
       claims in this case occurred in Virginia.
      In addition to not being relevant to the issue of specific jurisdiction, the request is not
       relevant to the issue of general jurisdiction. Defendant is an individual, not a corporation,
       and therefore the dispositive issue is her domicile. Goodyear Dunlop Tires Operations,
       S.A. v. Brown, 564 U.S. 915, 924 (2011) (“For an individual, the paradigm forum for the
       exercise of general jurisdiction is the individual’s domicile”); Kuhnen v. Remington, No.
       1:15cv766, 2016 U.S. Dist. LEXIS 84282 at *8 (M.D.N.C. June 29, 2016) (“Here, there
       is no suggestion that any defendant is domiciled in North Carolina. To the contrary, the
       complaint alleges that they are ‘citizen[s] and resident[s]’ of Tennessee, Indiana, and
       Massachusetts. As a result, the court lacks general personal jurisdiction over the
       defendants in this case.”) Because the request is not designed to obtain information about
       Defendant’s domicile, the request is not relevant to the issue of general jurisdiction.
      Defendant further objects that discovery as to whether Defendant should be subject to
       general personal jurisdiction in Virginia would amount to a mere fishing expedition. See
       FireClean LLC v. Tuohy, No. 1:16-cv-294-JCC-MSN, 2016 U.S. Dist. LEXIS 109620
       (E.D. Va. June 14, 2016).
      The request is overbroad to the extent it relates to the period of time subsequent to the
       commencement of this action. See Proprietors of Strata Plan No. 36 v. Coral Gardens
       Resort Mgmt., Ltd., No. 1:09-cv-550(AJT-TRJ), 2009 U.S. Dist. LEXIS 97704 at *17
       (E.D. Va. Oct. 16, 2009) (“Contact with a forum that occurs after the filing of a
       complaint cannot establish personal jurisdiction.”)


Documents are being withheld pursuant to the foregoing objections.


   3. Federal income tax returns for Radack for the years 2015, 2016, and 2017, including all
      notes, statements, and accompanying workpapers.

Objections:

      The request exceeds the scope of the limited jurisdictional discovery permitted by the
       Court in this case. The request is not relevant to establishing specific personal jurisdiction
       because it is not limited to the issue of whether the defendant’s acts which give rise to the
       claims in this case occurred in Virginia.
      In addition to not being relevant to the issue of specific jurisdiction, the request is not
       relevant to the issue of general jurisdiction. Defendant is an individual, not a corporation,
       and therefore the dispositive issue is her domicile. Goodyear Dunlop Tires Operations,
       S.A. v. Brown, 564 U.S. 915, 924 (2011) (“For an individual, the paradigm forum for the
       exercise of general jurisdiction is the individual’s domicile”); Kuhnen v. Remington, No.
       1:15cv766, 2016 U.S. Dist. LEXIS 84282 at *8 (M.D.N.C. June 29, 2016) (“Here, there
       is no suggestion that any defendant is domiciled in North Carolina. To the contrary, the
       complaint alleges that they are ‘citizen[s] and resident[s]’ of Tennessee, Indiana, and
       Massachusetts. As a result, the court lacks general personal jurisdiction over the
       defendants in this case.”) Because the request is not designed to obtain information about
       Defendant’s domicile, the request is not relevant to the issue of general jurisdiction.
      Defendant further objects that discovery as to whether Defendant should be subject to
       general personal jurisdiction in Virginia would amount to a mere fishing expedition. See
       FireClean LLC v. Tuohy, No. 1:16-cv-294-JCC-MSN, 2016 U.S. Dist. LEXIS 109620
       (E.D. Va. June 14, 2016).


Documents are being withheld pursuant to the foregoing objections.
   4. Account statements, monthly, quarterly and year-end, for any account in the name of
      Radack, or controlled or beneficially owned by Radack at any federal lending institution,
      bank, credit union, and/or brokerage located in Virginia for the period from April 15,
      2015 to the present.

Objections:

      The request exceeds the scope of the limited jurisdictional discovery permitted by the
       Court in this case. The request is not relevant to establishing specific personal jurisdiction
       because it is not limited to the issue of whether the defendant’s acts which give rise to the
       claims in this case occurred in Virginia.
      In addition to not being relevant to the issue of specific jurisdiction, the request is not
       relevant to the issue of general jurisdiction. Defendant is an individual, not a corporation,
       and therefore the dispositive issue is her domicile. Goodyear Dunlop Tires Operations,
       S.A. v. Brown, 564 U.S. 915, 924 (2011) (“For an individual, the paradigm forum for the
       exercise of general jurisdiction is the individual’s domicile”); Kuhnen v. Remington, No.
       1:15cv766, 2016 U.S. Dist. LEXIS 84282 at *8 (M.D.N.C. June 29, 2016) (“Here, there
       is no suggestion that any defendant is domiciled in North Carolina. To the contrary, the
       complaint alleges that they are ‘citizen[s] and resident[s]’ of Tennessee, Indiana, and
       Massachusetts. As a result, the court lacks general personal jurisdiction over the
       defendants in this case.”) Because the request is not designed to obtain information about
       Defendant’s domicile, the request is not relevant to the issue of general jurisdiction.
      Defendant further objects that discovery as to whether Defendant should be subject to
       general personal jurisdiction in Virginia would amount to a mere fishing expedition. See
       FireClean LLC v. Tuohy, No. 1:16-cv-294-JCC-MSN, 2016 U.S. Dist. LEXIS 109620
       (E.D. Va. June 14, 2016).
      The request is overbroad to the extent it relates to the period of time subsequent to the
       commencement of this action. See Proprietors of Strata Plan No. 36 v. Coral Gardens
       Resort Mgmt., Ltd., No. 1:09-cv-550(AJT-TRJ), 2009 U.S. Dist. LEXIS 97704 at *17
       (E.D. Va. Oct. 16, 2009) (“Contact with a forum that occurs after the filing of a
       complaint cannot establish personal jurisdiction.”)

No documents are being withheld pursuant to the foregoing objections.

   5. Account statements for any and all credit cards and/or debit cards used by Radack in
      Virginia between April 13, 2015 and the present.

Objections:

      The request exceeds the scope of the limited jurisdictional discovery permitted by the
       Court in this case. The request is not relevant to establishing specific personal jurisdiction
       because it is not limited to the issue of whether the defendant’s acts which give rise to the
       claims in this case occurred in Virginia.
      In addition to not being relevant to the issue of specific jurisdiction, the request is not
       relevant to the issue of general jurisdiction. Defendant is an individual, not a corporation,
       and therefore the dispositive issue is her domicile. Goodyear Dunlop Tires Operations,
       S.A. v. Brown, 564 U.S. 915, 924 (2011) (“For an individual, the paradigm forum for the
       exercise of general jurisdiction is the individual’s domicile”); Kuhnen v. Remington, No.
       1:15cv766, 2016 U.S. Dist. LEXIS 84282 at *8 (M.D.N.C. June 29, 2016) (“Here, there
       is no suggestion that any defendant is domiciled in North Carolina. To the contrary, the
       complaint alleges that they are ‘citizen[s] and resident[s]’ of Tennessee, Indiana, and
       Massachusetts. As a result, the court lacks general personal jurisdiction over the
       defendants in this case.”) Because the request is not designed to obtain information about
       Defendant’s domicile, the request is not relevant to the issue of general jurisdiction.
      Defendant further objects that discovery as to whether Defendant should be subject to
       general personal jurisdiction in Virginia would amount to a mere fishing expedition. See
       FireClean LLC v. Tuohy, No. 1:16-cv-294-JCC-MSN, 2016 U.S. Dist. LEXIS 109620
       (E.D. Va. June 14, 2016).
      The request is overbroad to the extent it relates to the period of time subsequent to the
       commencement of this action. See Proprietors of Strata Plan No. 36 v. Coral Gardens
       Resort Mgmt., Ltd., No. 1:09-cv-550(AJT-TRJ), 2009 U.S. Dist. LEXIS 97704 at *17
       (E.D. Va. Oct. 16, 2009) (“Contact with a forum that occurs after the filing of a
       complaint cannot establish personal jurisdiction.”)
      Any documents responsive to this request are not relevant because the mere purchase of
       goods or services, even if occurring at regular intervals, is not enough to warrant personal
       jurisdiction over an out-of-state defendant in a cause of action not related to those
       purchases. Helicopteros Nacionales De Colombia v. Hall, 466 U.S. 408, 418 (1984).

Defendant does not know whether responsive documents exist. Determining the existence of
responsive documents would itself be unduly burdensome. To determine the existence of
responsive documents, Defendant would need to order copies of all credit card and/or debit card
statements for a period of over three years, review every transaction on every statement over the
last three years, and determine whether the transaction took place in Virginia.

   6. All documents emailed, texted, transmitted, faxed, mailed, hand-delivered or otherwise
      provided by Radack to any person known or believed to be in Virginia between April 13,
      2015 and the present.

Objections:

      The request exceeds the scope of the limited jurisdictional discovery permitted by the
       Court in this case. The request is not relevant to establishing specific personal jurisdiction
       because it is not limited to the issue of whether the defendant’s acts which give rise to the
       claims in this case occurred in Virginia.
      In addition to not being relevant to the issue of specific jurisdiction, the request is not
       relevant to the issue of general jurisdiction. Defendant is an individual, not a corporation,
       and therefore the dispositive issue is her domicile. Goodyear Dunlop Tires Operations,
       S.A. v. Brown, 564 U.S. 915, 924 (2011) (“For an individual, the paradigm forum for the
       exercise of general jurisdiction is the individual’s domicile”); Kuhnen v. Remington, No.
       1:15cv766, 2016 U.S. Dist. LEXIS 84282 at *8 (M.D.N.C. June 29, 2016) (“Here, there
       is no suggestion that any defendant is domiciled in North Carolina. To the contrary, the
       complaint alleges that they are ‘citizen[s] and resident[s]’ of Tennessee, Indiana, and
       Massachusetts. As a result, the court lacks general personal jurisdiction over the
       defendants in this case.”) Because the request is not designed to obtain information about
       Defendant’s domicile, the request is not relevant to the issue of general jurisdiction.
      Defendant further objects that discovery as to whether Defendant should be subject to
       general personal jurisdiction in Virginia would amount to a mere fishing expedition. See
       FireClean LLC v. Tuohy, No. 1:16-cv-294-JCC-MSN, 2016 U.S. Dist. LEXIS 109620
       (E.D. Va. June 14, 2016).
      The request is overbroad to the extent it relates to the period of time subsequent to the
       commencement of this action. See Proprietors of Strata Plan No. 36 v. Coral Gardens
       Resort Mgmt., Ltd., No. 1:09-cv-550(AJT-TRJ), 2009 U.S. Dist. LEXIS 97704 at *17
       (E.D. Va. Oct. 16, 2009) (“Contact with a forum that occurs after the filing of a
       complaint cannot establish personal jurisdiction.”)
      To the extent documents exist, they would be attorney-client and attorney work product
       privileged material. Defendant is an attorney and the request, as worded, sweeps within
       its scope confidential communications between Defendant and her clients seeking or
       providing legal advice.
      To the extent documents exist, they would not be relevant. Any responsive documents
       would be emails between Defendant and her clients which are entirely unrelated to this
       case.

Defendant does not know whether responsive documents exist. Determining the existence of
responsive documents would itself be unduly burdensome.

Construing the request as excluding attorney-client privileged or work product privileged
material, no documents are being withheld pursuant to the foregoing objections.


   7. All emails, texts, direct messages, iMessages and other electronic communications by
      Radack between April 13, 2015 and the present that mention Plaintiff or that are of and
      concerning Plaintiff.

Objections:

      The request exceeds the scope of the limited jurisdictional discovery permitted by the
       Court in this case. The request is not relevant to establishing jurisdiction, but instead
       seeks information relating to Plaintiff’s causes of action.
      The request is overbroad to the extent it relates to the period of time subsequent to the
       commencement of this action. See Proprietors of Strata Plan No. 36 v. Coral Gardens
       Resort Mgmt., Ltd., No. 1:09-cv-550(AJT-TRJ), 2009 U.S. Dist. LEXIS 97704 at *17
       (E.D. Va. Oct. 16, 2009) (“Contact with a forum that occurs after the filing of a
       complaint cannot establish personal jurisdiction.”)
      The request seeks information protected by the attorney-client and attorney work product
       privileges. There are approximately 20 emails from undersigned counsel to Defendant
       providing legal advice to Defendant relating to litigation between the parties. These
       emails are all dated between April 22, 2018 and the present. The recipient of these emails
       was Defendant and co-counsel. There are approximately 24 emails from Defendant to
       undersigned counsel seeking legal advice relating to litigation between the parties. These
       emails are all dated between April 20, 2018 and the present. The recipient of these emails
       was undersigned counsel.

Documents are being withheld pursuant to the foregoing objections.


   8. All contracts or agreements between Radack and any person or business (including
      individuals, sole proprietorships, associations, trusts, partnerships, limited liability
      companies, and corporations) located in Virginia entered into and/or performed in 2015,
      2016, 2017 and/or 2018.

Objections:

      The request exceeds the scope of the limited jurisdictional discovery permitted by the
       Court in this case. The request is not relevant to establishing specific personal jurisdiction
       because it is not limited to the issue of whether the defendant’s acts which give rise to the
       claims in this case occurred in Virginia.
      In addition to not being relevant to the issue of specific jurisdiction, the request is not
       relevant to the issue of general jurisdiction. Defendant is an individual, not a corporation,
       and therefore the dispositive issue is her domicile. Goodyear Dunlop Tires Operations,
       S.A. v. Brown, 564 U.S. 915, 924 (2011) (“For an individual, the paradigm forum for the
       exercise of general jurisdiction is the individual’s domicile”); Kuhnen v. Remington, No.
       1:15cv766, 2016 U.S. Dist. LEXIS 84282 at *8 (M.D.N.C. June 29, 2016) (“Here, there
       is no suggestion that any defendant is domiciled in North Carolina. To the contrary, the
       complaint alleges that they are ‘citizen[s] and resident[s]’ of Tennessee, Indiana, and
       Massachusetts. As a result, the court lacks general personal jurisdiction over the
       defendants in this case.”) Because the request is not designed to obtain information about
       Defendant’s domicile, the request is not relevant to the issue of general jurisdiction.
      Defendant further objects that discovery as to whether Defendant should be subject to
       general personal jurisdiction in Virginia would amount to a mere fishing expedition. See
       FireClean LLC v. Tuohy, No. 1:16-cv-294-JCC-MSN, 2016 U.S. Dist. LEXIS 109620
       (E.D. Va. June 14, 2016).
      The request is overbroad to the extent it relates to the period of time subsequent to the
       commencement of this action. See Proprietors of Strata Plan No. 36 v. Coral Gardens
       Resort Mgmt., Ltd., No. 1:09-cv-550(AJT-TRJ), 2009 U.S. Dist. LEXIS 97704 at *17
       (E.D. Va. Oct. 16, 2009) (“Contact with a forum that occurs after the filing of a
       complaint cannot establish personal jurisdiction.”)

No documents are being withheld pursuant to the foregoing objections.

   9. Deeds, deeds of trust, mortgages, leases, bills of sale, purchase orders, bills of lading,
      titles, security agreements, tax bills and other documents that constitute, evidence,
      demonstrate or show any interest, legal or equitable, by Radack in any real or personal
      property located in Virginia.
Objections:

      The request is overbroad to the extent it relates to the period of time subsequent to the
       commencement of this action. See Proprietors of Strata Plan No. 36 v. Coral Gardens
       Resort Mgmt., Ltd., No. 1:09-cv-550(AJT-TRJ), 2009 U.S. Dist. LEXIS 97704 at *17
       (E.D. Va. Oct. 16, 2009) (“Contact with a forum that occurs after the filing of a
       complaint cannot establish personal jurisdiction.”)
      The request is overbroad in that it is not limited to any specific time period.

No documents are being withheld pursuant to the foregoing objections.

   10. All documents that evidence, demonstrate or show Radack’s purchase of any goods or
       services from vendors located in Virginia, including, without limitation, complete copies
       of all purchase orders, account statements, invoices and receipts.

Objections:

      The request exceeds the scope of the limited jurisdictional discovery permitted by the
       Court in this case. The request is not relevant to establishing specific personal jurisdiction
       because it is not limited to the issue of whether the defendant’s acts which give rise to the
       claims in this case occurred in Virginia.
      In addition to not being relevant to the issue of specific jurisdiction, the request is not
       relevant to the issue of general jurisdiction. Defendant is an individual, not a corporation,
       and therefore the dispositive issue is her domicile. Goodyear Dunlop Tires Operations,
       S.A. v. Brown, 564 U.S. 915, 924 (2011) (“For an individual, the paradigm forum for the
       exercise of general jurisdiction is the individual’s domicile”); Kuhnen v. Remington, No.
       1:15cv766, 2016 U.S. Dist. LEXIS 84282 at *8 (M.D.N.C. June 29, 2016) (“Here, there
       is no suggestion that any defendant is domiciled in North Carolina. To the contrary, the
       complaint alleges that they are ‘citizen[s] and resident[s]’ of Tennessee, Indiana, and
       Massachusetts. As a result, the court lacks general personal jurisdiction over the
       defendants in this case.”) Because the request is not designed to obtain information about
       Defendant’s domicile, the request is not relevant to the issue of general jurisdiction.
      Defendant further objects that discovery as to whether Defendant should be subject to
       general personal jurisdiction in Virginia would amount to a mere fishing expedition. See
       FireClean LLC v. Tuohy, No. 1:16-cv-294-JCC-MSN, 2016 U.S. Dist. LEXIS 109620
       (E.D. Va. June 14, 2016).
      The request is overbroad to the extent it relates to the period of time subsequent to the
       commencement of this action. See Proprietors of Strata Plan No. 36 v. Coral Gardens
       Resort Mgmt., Ltd., No. 1:09-cv-550(AJT-TRJ), 2009 U.S. Dist. LEXIS 97704 at *17
       (E.D. Va. Oct. 16, 2009) (“Contact with a forum that occurs after the filing of a
       complaint cannot establish personal jurisdiction.”)
      The request is overbroad in that it is not limited to any specific time period.
      Any documents responsive to this request are not relevant because the mere purchase of
       goods or services, even if occurring at regular intervals, is not enough to warrant personal
       jurisdiction over an out-of-state defendant in a cause of action not related to those
       purchases. Helicopteros Nacionales De Colombia v. Hall, 466 U.S. 408, 418 (1984).
Documents are being withheld pursuant to the foregoing objections.

   11. All notes, memoranda, and other records of conversations (excluding only documents
       that constitute or evidence communications with legal counsel) between Radack and any
       person known or believed to be in Virginia between April 13, 2015 and the present.

Objections:

      The request exceeds the scope of the limited jurisdictional discovery permitted by the
       Court in this case. The request is not relevant to establishing specific personal jurisdiction
       because it is not limited to the issue of whether the defendant’s acts which give rise to the
       claims in this case occurred in Virginia.
      In addition to not being relevant to the issue of specific jurisdiction, the request is not
       relevant to the issue of general jurisdiction. Defendant is an individual, not a corporation,
       and therefore the dispositive issue is her domicile. Goodyear Dunlop Tires Operations,
       S.A. v. Brown, 564 U.S. 915, 924 (2011) (“For an individual, the paradigm forum for the
       exercise of general jurisdiction is the individual’s domicile”); Kuhnen v. Remington, No.
       1:15cv766, 2016 U.S. Dist. LEXIS 84282 at *8 (M.D.N.C. June 29, 2016) (“Here, there
       is no suggestion that any defendant is domiciled in North Carolina. To the contrary, the
       complaint alleges that they are ‘citizen[s] and resident[s]’ of Tennessee, Indiana, and
       Massachusetts. As a result, the court lacks general personal jurisdiction over the
       defendants in this case.”) Because the request is not designed to obtain information about
       Defendant’s domicile, the request is not relevant to the issue of general jurisdiction.
      Defendant further objects that discovery as to whether Defendant should be subject to
       general personal jurisdiction in Virginia would amount to a mere fishing expedition. See
       FireClean LLC v. Tuohy, No. 1:16-cv-294-JCC-MSN, 2016 U.S. Dist. LEXIS 109620
       (E.D. Va. June 14, 2016).
      The request is overbroad to the extent it relates to the period of time subsequent to the
       commencement of this action. See Proprietors of Strata Plan No. 36 v. Coral Gardens
       Resort Mgmt., Ltd., No. 1:09-cv-550(AJT-TRJ), 2009 U.S. Dist. LEXIS 97704 at *17
       (E.D. Va. Oct. 16, 2009) (“Contact with a forum that occurs after the filing of a
       complaint cannot establish personal jurisdiction.”)
      To the extent documents exist, they would be attorney-client and attorney work product
       privileged material. Defendant is an attorney and the request, as worded, sweeps within
       its scope confidential communications between Defendant and her clients seeking or
       providing legal advice.
      To the extent documents exist, they would not be relevant. Any responsive documents
       would be emails between Defendant and her clients which are entirely unrelated to this
       case.

Excluding documents that constitute or evidence communications with legal counsel, no
documents are being withheld pursuant to the foregoing objections.
   12. Copies of any tweets, retweets, likes, shares, posts, blogs, photographs, messages or
       written content of any kind or nature posted by Radack on any social media platform,
       including, without limitation, Twitter, YouTube, Google Plus, FaceBook and/or
       LinkedIn, which mention Plaintiff or that are of and concerning Plaintiff.

Objections:

      The request exceeds the scope of the limited jurisdictional discovery permitted by the
       Court in this case. The request is not relevant to establishing jurisdiction, but instead
       seeks information relating to Plaintiff’s causes of action.
      The request is overbroad to the extent it relates to the period of time subsequent to the
       commencement of this action. See Proprietors of Strata Plan No. 36 v. Coral Gardens
       Resort Mgmt., Ltd., No. 1:09-cv-550(AJT-TRJ), 2009 U.S. Dist. LEXIS 97704 at *17
       (E.D. Va. Oct. 16, 2009) (“Contact with a forum that occurs after the filing of a
       complaint cannot establish personal jurisdiction.”)

No documents are being withheld pursuant to the foregoing objections.

   13. All selfies and photographs of Radack delivered to Plaintiff.

      The request exceeds the scope of the limited jurisdictional discovery permitted by the
       Court in this case. The request is not relevant to establishing jurisdiction, but instead
       seeks information relating to Plaintiff’s causes of action.
      The request is overbroad to the extent it relates to the period of time subsequent to the
       commencement of this action. See Proprietors of Strata Plan No. 36 v. Coral Gardens
       Resort Mgmt., Ltd., No. 1:09-cv-550(AJT-TRJ), 2009 U.S. Dist. LEXIS 97704 at *17
       (E.D. Va. Oct. 16, 2009) (“Contact with a forum that occurs after the filing of a
       complaint cannot establish personal jurisdiction.”)

Objections:

Construing the request to not include a copy of the Complaint filed in this case, no documents
are being withheld pursuant to the foregoing objections.




                                             _/s/ Andrew Clarke____________

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_/s/ Jeffrey Light____________

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*Pro hac vice

Counsel for Defendant
                            CERTIFICATE OF SERVICE


   I hereby certify that on this 15th day of May 2018, I will send via email and First

Class postal mail the foregoing document to the following counsel for Plaintiff:

Steven S. Biss
300 West Main Street, Suite 102
Charlottesville, VA 22903
stevenbiss@earthlink.net

                                             _/s/ Andrew Clarke____________

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                                             _/s/ Jeffrey Light____________

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